
ON APPLICATION FOR ADMISSION TO THE BAR
PER CURIAM.
|, After reviewing the evidence and considering the law, we conclude petitioner, Andrea 0. Nathan, is eligible to be admitted to the practice of law in Louisiana, subject to the following conditions:
I. The term of this conditional admission shall be for two years from the date of admission. However, petitioner’s conditional admission status shall not be terminated until this court so orders.
II. Within thirty days of petitioner’s admission, she shall enter into a formal plan with the Office of Disciplinary Counsel (“ODC”) incorporating the following conditions:
A. In addition to her ordinary mandatory continuing legal education requirements, petitioner shall complete an additional 15 hours of continuing legal education in ethics and professionalism for each year of her probationary period.
B. Petitioner shall request that the ODC appoint a practice monitor to supervise her professional activities during the period of this conditional admission. Petitioner shall comply with all reasonable requests of her practice monitor.
*560C. Petitioner shall cooperate with the ODC, and shall comply with any and all requirements imposed upon her by the ODC.
|aIII. Within thirty days prior to the expiration of the conditional admission, the ODC shall file a report in this court in which it shall recommend to the court that the conditional admission be allowed to terminate or be extended.
Should petitioner fail to make a good faith effort to satisfy these conditions, or should she commit any misconduct during the period of probation, her conditional right to practice may be terminated or she may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
